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                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff
v.                                                          Case Number 8:03cr223

                                                            USM Number 18680-047

ADAM BURNS
                         Defendant
                                                            Jessica L. Milburn

                                                            Defendant’s Attorney
___________________________________

                                  JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard condition #7, special condition #4 and special
condition #5 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                                    Date Violations
        Violation Number                     Nature of Violation                      Concluded


 1                                    Admission to marijuana use           January 15, 2006

 2                                    Termination of Public Law            February 28, 2006
                                      placement due to positive urine
                                      specimens

 3                                    Termination from treatment           January 17, 2006
                                      program

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984 Booker/FanFan decisions.

Following the imposition of sentence, the Court advised the defendant of his right to appeal pursuant to the
provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal
must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States attorney of any material change in the defendant’s economic circumstances.

                                                                              Date of Imposition of Sentence:
                                                                                              March 22, 2006

                                                                                         s/Joseph F. Bataillon
                                                                                  United States District Judge

                                                                                               March 24, 2006
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                                             IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twelve (12) months and one (1) day.

The Court makes the following recommendations to the Bureau of Prisons:



        (X) The defendant is remanded to the custody of the United States Marshal.


                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                              CRIMINAL MONETARY PENALTIES


The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                       Total Restitution

              $100.00                                                              $21,060.59


The defendant shall pay interest on any fine or restitution of more than $2,500, unless the
fine or restitution is paid in full before the fifteenth day after the date of the judgment,
pursuant to 18 U.S.C. § 3612(f). All of the payment options in the Schedule of Payments
may be subject to penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).


                                            RESTITUTION

Restitution in the amount of $21,060.59 is hereby ordered. A balance of $20,860.59 remains due
and payable. The defendant shall make restitution to the following payees in the amounts listed
below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional
payment, unless specified otherwise in the priority order or percentage payment column below.
However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in full prior to the
United States receiving payment.
                                                                                          Priority Order
                                      **Total Amount              Amount of               or Percentage
          Name of Payee                   of Loss             Restitution Ordered          of Payment

 First National Bank of Omaha            $15,962.59                $15,962.59


 Commercial Federal Bank                  $5,098.00                 $5,098.00

 Totals                                  $21,060.59                $21,060.59


**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18,
United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                  SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:

        The special assessment in the amount of $100.00 has been paid in full.

Following discharge from imprisonment, the defendant shall make payments to satisfy the
criminal monetary penalty in months installments of $50.00 or 5% of his gross income,
whichever is greater. The first payment shall commence 60 days following release from
imprisonment and continue until the criminal monetary penalty is paid in full. The defendant
shall be responsible for providing proof of payment to the probation officer as directed.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

        Restitution is hereby ordered jointly and severally with the co-defendants in
        8:03CR223: Cheryl Cavitt, Dale Carter, Zacari D. Harris and Yvonne Smith.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and
(8) costs, including cost of prosecution and court costs.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
